Case 2:16-cv-00229-RBS Document 288 Filed 02/27/19 Page 1 of 3 PageID# 4135



                         UNITED STATES DISTRICT COURT                  FEB 2 7 2019
                         EASTERN DISTRICT OF VIRGINIA
                                    Norfolk Division



ROXANNE ADAMS, ADMINISTRATOR OF
THE ESTATE OF JAMYCHEAL M. MITCHELL,

     Plaintiff,

V.                                                  CIVIL ACTION NO. 2:16cv229

NAPHCARE, INC., et al.,

     Defendants.


                                           ORDER


     On February 21, 2019, the court held a hearing on the approval

of a wrongful-death settlement in this case. At that hearing, the

court     inquired       as     to     whether     Plaintiff,       Roxanne     Adams,

Administrator of the Estate of Jamycheal M. Mitchell, would be

entitled to a fee for her role in this case. Following the hearing.

Plaintiff filed a Brief Concerning the Administrator's Right to

Compensation (^'Brief Concerning Compensation"). ECF No. 284. The

court has    reviewed         the    matter and is of the       opinion       that the

Virginia    Code     excludes        the   distribution   of    a    fee   from     the

wrongful-death settlement proceeds to the administrator.

     Virginia Code § 8.01-54(0 specifies:

     The amount recovered in [a wrongful-death] action shall
     be paid to the personal representative who shall first
     pay the costs and reasonable attorney's fees and then
     distribute the amount specifically allocated to the
     payment of hospital, medical, and funeral expenses. The
        remainder   of   the    amount     recovered   shall   thereafter      be
     distributed . . . to the beneficiaries.
Case 2:16-cv-00229-RBS Document 288 Filed 02/27/19 Page 2 of 3 PageID# 4136



Id. (emphasis added).

     The    expression        of specific distributions            provided      by the

Virginia Code implies the exclusion of other distributions. See In

re Woodiev/ 290 Va. 482, 490 n.9 (2015) (citing Fisher v. Tails,

Inc., 289 Va. 69, 75 (2015) (applying ''the statutory canon of

expressio unius est exclusio alterius ('the express mention of one

thing     [in    a    statute's       language]   excludes     all       others')")).

Accordingly, the Virginia Supreme Court has given effect to the

plain language of Virginia's wrongful-death statutes:

        What the legislature said is that a wrongful death award
        'shall be paid to the personal representative' for
     distribution to the beneficiaries. Code § 8.01-54(0 • We
        presume that the legislature says what it means and means
        what it says. Given the clarity of Code § 8.01-54(C), we
        may neither add to this statutory text nor subtract from
     it.


Id. at 491 (following the plain language of Virginia's wrongful

death    statute     to    conclude   that the    court erred      when    it ordered


payment of the minor beneficiaries' awards to the clerk of court);

see also Powell's Adm'x             v. Powell, 4 S.E. 744, 745 (Va. 1888)

("[WJhere a compromise is effected, as was done in the present

case, the money paid is to be distributed according to the statute

of distributions.").

        Although     the    court   does    not find   a   monetary      award    to   be

permitted under Virginia law, the court acknowledges Ms. Adams's

significant role in this complex case and in bringing about public

awareness       of   the   tragic     and   unnecessary    death    of    her   nephew.
Case 2:16-cv-00229-RBS Document 288 Filed 02/27/19 Page 3 of 3 PageID# 4137



Jamycheal    Mitchell.    See   generally   ECF   No.   284       at   4   n.4.

Specifically, the court commends Ms. Adams for pursuing justice

for   Jamycheal Mitchell, bringing this        matter   to    a    beneficial

settlement, and establishing Jamycheal Mitchell's legacy through

her efforts on his behalf, both in this court and in the state

legislature. See Act of March 24, 2017 (^Vamycheal Mitchell's

Law"), ch. 759, 2017 Va. Acts 1383 (codified as amended at Va.

Code Ann. §§ 53.1-2, 53.1-5, 53.1-127 (2013 & Supp. 2018), and

codified at Va. Code Ann. § 53.1-69.1 (Supp. 2018)) (new Virginia

Code § 53.1-69.1 outlines procedures for the "'[rjeview of death of

inmates in local correctional facilities").

       The Clerk is DIRECTED to send a copy of this Order to counsel

for all parties. Counsel for Plaintiff is DIRECTED to forward a

copy of this Order to Ms. Adams.

      IT IS SO ORDERED.




                                        REBECCA BEACH SMITH
                                  UNITED STATES DISTRICT JUDGE


February    ai. 2019
